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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF SOUTH DAKOTA
                                     SOUTHERN DIVISION



                                              *


JAMES 1. DALE,                                *       CIV 14-4003
a/k/a James Irving Dale,                      *
                                              *


              Plaintiff,                      *
                                              *


       vs.                                    *                      ORDER
                                              *


CBM CORRECTIONAL FOOD                         *
SERVICES;                                     *
                                              *


              Defendant.                      *
                                              *




       Pending before the Court is a Motion to Withdraw as Counsel,Doc. 171,in which Assistant
Attorney General Steven R.Blair requests leave ofcourt to withdraw as counsel for Defendant CBM
Managed Services as there are only individual capacity claims against CBM Managed Services
remaining. Accordingly,
       FT IS ORDERED that Assistant Attorney General Steven R. Blair's Motion to
       Withdraw as Counsel,Doc. 171, will be granted once new counsel appears for CBM
       Correctional Food Services.

                   iC
       Dated this i        day of October, 2018.

                                              BY THE COURT:



                                                            iPvL
                                               ^awrence L. Piersol
ATTEST:                                        United States District Judge
MATTHE-^W.THELEN,CLERK

              oP)|c
              Deputy
